
974 So.2d 555 (2008)
Michael WOODS, Petitioner,
v.
STATE of Florida, Respondent.
No. 5D08-54.
District Court of Appeal of Florida, Fifth District.
February 15, 2008.
Michael Woods, Chipley, Pro Se.
No Appearance for Respondent.
*556 PER CURIAM.
We deny without prejudice, the petition seeking a belated appeal. The petition fails to allege that petitioner made a timely request for defense counsel to file a notice of appeal. See Lincoln v. State, 948 So.2d 77 (Fla. 5th DCA 2007); Frazier v. State, 944 So.2d 1035 (Fla. 5th DCA 2006). The petition may be amended within thirty days following the date of this opinion.
PETITION DENIED.
PLEUS, ORFINGER and TORPY, JJ., concur.
